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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF PUERTO RICO




Avraham Eisenberg

        Plaintiff,

v.
                                                               3:22-cv-1325
                                             Civil Action No. ____________________
Numeris Ltd., Sasha Ivanov,
and DOES 1-10

        Defendants




                      PLAINTIFF’S ORIGINAL COMPLAINT

       Avraham Eisenberg (“Plaintiff”) files this Complaint against Defendants, on

personal knowledge as to Plaintiff’s own activities, and on information and belief as

to the activities of others:

                               Nature of the Case

1.     This is a case where a Puerto Rican trader is having his investment stolen by

an international Ponzi scheme and bait-and-switch scam. Although the technology

involved in this scam is new, the core modus operandi is not: Defendants convinced

Plaintiff to deposit approximately $14,500,000 worth of commodities with them by

promising him that there would be no withdrawal limits. However, it was later

discovered that Defendants had been running their business as a Ponzi scheme and

using investors’ assets to buy up the underlying commodity so that they could sell it

all at an inflated price. When this scheme was exposed, Defendants reduced their

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rates, causing Plaintiff and their other victims to lose tens of thousands of dollars a

day. Defendants then changed the rules of Plaintiff’s account to prevent him from

withdrawing his commodities, and have even threatened to seize Plaintiff’s deposits

under a provision for the automatic liquidation of “unhealthy” accounts—despite the

fact that it was Defendants’ misconduct that caused the price fluctuations that

rendered Plaintiffs’ account (and those of Defendants’ other victims) “unhealthy.”

2.    In short, Defendants ran a global Ponzi scheme to fund a pump-and-dump

scheme, and this scheme ensnared an investor here in Puerto Rico. Worse, when

Defendants were caught, they used the problems caused by their exposure as a

pretext to keep Plaintiff from withdrawing his wealth so they could seize it for their

own use.

                                    The Parties

3.    Plaintiff is an individual with a principal residence in San Juan, Puerto Rico.

4.    The currently-known defendants (“Defendants”) are, on information and belief,

individuals and businesses residing in foreign jurisdictions, and Plaintiff currently

has no knowledge as to the physical location or identities of Does 1-10.

5.    Defendants conduct illegal operations through the use of blockchain technology

and associated trading platforms to consumers within the United States and its

territories, including in Puerto Rico. Defendants have the capacity to be sued

pursuant to Federal Rule of Civil Procedure 17(b).

6.    On information and belief, Defendants are an interrelated group working in

concert to knowingly and willfully engage in improper and illegal conduct.



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7.    The true identities of many of these Defendants are presently unknown. As the

identities of the now-unknown Defendants become known, Plaintiff will promptly

amend this Complaint to identify them.

                              Jurisdiction and Venue

8.    This Court has federal question jurisdiction over Plaintiff’s claims pursuant to

28 U.S.C. § 1331 because those claims include claims under the Commodity Exchange

Act (“CEA”).

9.    This Court has supplemental jurisdiction over Plaintiff’s other claims pursuant

to 28 U.S.C. § 1367 because all claims herein are so related that they arise from the

same case or controversy.

10.   This Court also has federal diversity jurisdiction over all of Plaintiff’s claims

in this Complaint pursuant to 28 U.S.C. §1332, as the parties are diverse in

citizenship and the amount in controversy exceeds $75,000.00. Plaintiff does not

reside in the same state as any of the defendants and the amount of damages claimed

is more than $75,000.00.

11.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because

Defendants are entities or individuals subject to personal jurisdiction in this District,

and because a substantial part of the events or omissions giving rise to Plaintiff’s

claims occurred in this District.

12.   Venue is also proper in this District pursuant to 28 U.S.C. § 1391(c)(3) because

defendants not residing in the United States may be sued in any judicial district.




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                                Background Facts

13.   Blockchain technology is a type of data structure that uses encryption and

linked digital blocks to create, inter alia, a verifiable, undisrupted chain of

transaction/data   history.   Transactions    on   most    blockchain   systems    are

simultaneously anonymous and publicly verifiable, recording an anonymized address

or wallet identifier that can be tracked even when the real-world identity of the owner

remains unknown.

14.   The most prominent uses involving blockchain technology involve smart

contracts—computer programs running on a blockchain network which execute

automatically when specific conditions are met. The smart contract’s parameters for

execution of a given function or transaction are encoded into the smart contract, and

thus typically no program, organization, or person has discretion about whether, how,

or to what extent to execute the smart contract.

15.   Decentralized finance, also known as “DeFi,” mimics traditional finance

mechanisms, but it differs in important philosophical and mechanical ways from such

traditional mechanisms. DeFi includes financial exchanges and lending platforms

which allow participants to trade financial products with one another using

blockchains and smart contracts running on them. Blockchain-based lending

platforms in particular aim to provide incentives to both borrowers and lenders while

purporting to democratize access to investment opportunities compared to loan

processes in traditional finance institutions. Smart contracts for a platform reside on

the associated blockchain using code (also known as the “protocol”) viewable by all of



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the platform’s users (or potential users) so that such users know what the risks and

benefits of participation in the platform should be. Changes to the code require a

majority vote of the users with voting rights—often any user who owns tokens coupled

with governance tokens, or tokens bearing voting rights.

16.   In DeFi lending protocols, lenders deposit digital assets into a protocol’s

liquidity pool in exchange for interest and, usually, protocol-specific tokens to track

their ownership and potentially vote on changes to the protocol’s code. Borrowers post

digital assets as collateral to withdraw up to a limit of other tokens or digital assets

at a set interest rate applied against the borrowed value. Providing incentives and

utility to borrowers and lenders plays an essential role in DeFi lending platforms.

17.   As a result of the public nature of the code for governance and maintenance of

a given liquidity pool protocol, lenders and borrowers know what their expected

return will be on deposited collateral and what their cost will be on borrowed assets.

Borrowers are often required to overcollateralize their positions in a liquidity pool by

depositing assets whose total value exceed the value of borrowed assets. Then, if the

value of the collateral falls below a pre-set threshold, the user’s collateral becomes

subject to automatic liquidation based on the parameters of the applicable smart

contract.

18.   The democratic nature of protocol governance dictates that proposed

amendments beneficial to a protocol’s users will usually pass, while those benefiting

only a few users and detrimental to a majority of users will fail. In either event, the

promise and utility of liquidity pools and other DeFi endeavors rely on the concept of



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an open environment not subject to manipulation or unilateral change at great cost

to the many for the benefit of a very few.

19.   Defendant Ivanov is the principal and, upon information and belief, founder of

the Waves blockchain protocol (“Waves”), which has a native token known as

“Neutrino” bearing the ticker symbol USDN (“USDN”). USDN is represented by

Waves to be a stablecoin pegged to the United States Dollar, meaning that its value

is intended to always be equal to one dollar. Waves also acts as a “bridge,” which

generally is a system for moving assets between different blockchains. In this

instance, Waves allows for moving assets between the well-known Ethereum

blockchain and the Waves blockchain. It does so by assigning each user with a unique

address on the Ethereum blockchain to which the user can deposit assets, after which

the Waves protocol credits the user’s Waves account with those assets.

20.   Running on top of the Waves protocol is the Vires, or Vires.finance, liquidity

protocol (“Vires”), a DeFi lending protocol which is “provided by” Defendant Numeris.

Through Vires, lenders can deposit digital assets—mainly USDN, but also other

cryptocurrencies—for a return, and borrowers can borrow those deposited assets for

a charge.

21.   Users who lend through Vires obtain VIRES tokens, which they may “lock,”

committing not to sell or liquidate those tokens in exchange for two main benefits.

First, locking grants the owner of the locked tokens a share of the protocol’s revenue

stream from various markets transacted through Vires, including USDN, Bitcoin,

and Ethereum, among others. Second, it also “upgrades” VIRES tokens to gVires,



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giving the owner voting power in proportion to their respective share of the total

gVires population. Though holders of gVires are ostensibly members of the Vires DAO

(decentralized autonomous organization) (the “DAO”), upon information and belief

the DAO is actually owned and controlled almost entirely by only a very few

individuals, including Defendant Ivanov, without substantive decisionmaking power

by users outside of Defendant Ivanov’s inner circle.

22.   In September 2021, Defendant Ivanov, using Twitter Handle @sasha35625,

tweeted that Waves was “really thirsty” for liquidity and touted annual percentage

yields for Vires lenders between 30-70%. 1 In October 2021, Vires publicized that

“every decision made is to be voted through on-chain governance,” which it extolled

as “pure DeFi governance.” 2 In March 2022, Vires’ total value locked (the value of

locked assets) exceeded $1.5 billion USD, a fact which Vires used to flaunt its use

case as allowing users to “take over-collateralized loans so they could free up capital

to deploy elsewhere.” 3

23.   In March 2022, Plaintiff began seeing references to Waves and Vires and began

researching them for himself. Plaintiff opened positions on Waves and Vires at the

end of March 2022, ultimately depositing approximately $14,500,000 worth of USDC,

which is also known as USD Coin and is a well-known stablecoin pegged to the US

Dollar. There were no withdrawal limits at the time—a fact on which Plaintiff relied



1
  https://twitter.com/sasha35625/status/1440609781421535249
2
  https://medium.com/vires-finance/vires-finance-tokenomics-and-roadmap-4ef88d2f
29ec
3
  https://www.bloomberg.com/press-releases/2022-03-24/vires-finance-and-parent-
blockchain-waves-announce-1-5-billion-tvl
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in deciding to open positions on Waves and Vires. If Plaintiff had so desired, he could

have withdrawn his entire position at any time of his choosing.

24.      When Plaintiff opened his positions—and to this day—Defendant Numeris and

its principals represented to Vires users, including Plaintiff, that:

      a. “The Company has no control over any transactions over the Company
         decentralized non-custodial liquidity protocol, the method of payment of any
         transactions or any actual payments of transactions.” 4

      b. “The Protocol is fully decentralized and managed by a decentralized
         community of gVires token-holders (Vires DAO), who propose and vote on
         upgrades to the Protocol.” 5

      c. “Vires DAO's Governance framework allows participation in shaping the
         direction of the Protocol. Anybody with 1000 gVIRES can propose a governance
         action.” 6

      d. “If you borrow digital assets from the Vires Protocol, you will have to supply
         digital assets of your own as collateral. If your collateral declines in value such
         that it is no longer sufficient to secure the amount that you borrowed, others
         may interact with the Vires Protocol to seize your collateral in a liquidation
         event. You further acknowledge that we are not responsible for any of these
         variables or risks, do not own or control the Vires Protocol, and cannot
         be held liable for any resulting losses that you experience while accessing or
         using the Interface.” 7 (emphasis added)

      e. “The risks related to the vires.finance protocol are mostly smart contract risks
         (risk of a bug within the protocol code) and liquidation risk (risk on the
         collateral liquidation process).” 8

      f. “VIRES locking reflects your commitment to the protocol governance.
         Therefore, it grants you the ability to make decisions.” 9




4
  https://docs.vires.finance/g1/terms-of-use
5
  Id.
6
  Id.
7
  Id.
8
  Id.
9
  https://docs.vires.finance/faq/w-governance
                                              8
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25.   On March 31, 2022, Twitter user @OxHamZ tweeted that Waves is a Ponzi

scheme, stating that Waves/Vires’ principals had “recklessly engineered price spikes

by borrowing USDC at 35% to buy its own token.” 10 In other words, according to

@OxHamZ, Waves/Vires’ principals drove up the price of Waves’ own token by buying

it with USDC borrowed at high interest rates. This ultimately created deficiencies in

Vires’ users’ “account health,” which threatened to cause automatic liquidation of

their pledged collateral. @OxHamZ’s tweet sent shockwaves throughout the

Waves/Vires community.

26.   In response to the uproar around @OxHamZ’s revelation of the price

manipulation scheme, Defendant Ivanov proposed and implemented changes to the

Vires protocol that limited maximum borrower APR to 40% for all assets (the “Rate

Reduction Proposal”). 11 Another proposal also passed that set daily withdrawal limits

for USDT, another stablecoin known as “Tether,” and USDC (the “Withdrawal Limit

Proposal”) based on the allegation that “new deposits/repays do not cover the demand

[for withdrawals].” 12 Under the Withdrawal Limit Proposal, no user address could

withdraw more than 1000 USDT and 1000 USDC per day. 13

27.   Prior to the Rate Reduction Proposal, USDC lending yields on Vires were

approximately 72% APY and USDN borrowing charges were approximately 11%,

which meant a user could borrow USDN at only 11% to purchase and then lend USDC



10
   https://twitter.com/0xHamz/status/1509581295621451779
11
   https://forum.vires.finance/t/set-maximum-borrow-apr-to-40/375
12
   https://vires.finance/governance/vote/Cu7sbih8fS9FRbynGBfWBTqUZKrJ7GMBP
8LsTL4AfAC5
13
   Id.
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72%, netting approximately 61% “profit.” With the subsequent rate reductions,

however, users like Plaintiff lost, and continue to lose, tens of thousands of dollars a

day compared to what they were promised and, oftentimes, what they bought into.

28.      Still in the throes of popular upheaval in the Waves/Vires community,

Defendant Ivanov again waded into Twitter to confess his responsibility and attempt

yet another conciliation, ostensibly to keep the community from taking legal action:




                                                                               14


Defendant Ivanov, in the same thread, detailed a plan to take on many of the accounts

with the lowest account health — in other words, acting as a third-party liquidator.

Defendant Ivanov also admitted that he ultimately controls the DAO by stating

without qualification or reservation how the DAO will vote to change USDN

integration on Vires, or in other words, to again amend the Vires protocol and the

parameters by which it is (or is not) bound. Clearly many of the votes to restrict

withdrawals and limit the interest lenders received were not, in fact, cast by the

“democratized” nature of “pure DeFi governance.” Instead, the DAO is controlled by



14
     https://twitter.com/sasha35625/status/1529076417731997699
                                          10
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a disproportionate share of votes to enact protocol revisions that benefit the few apex

holders of gVires who control the DAO.

29.      Waves’ own “masterplan” admits that this is the case, confessing to the public

that “it is unfair that most users have to suffer due to a few large whales abusing the

system,” while at the same time suggesting that Defendant Ivanov should be given

even more control over the entire Waves/Vires ecosystem. 15

30.      The APR reduction under the Rate Reduction Proposal prevented Plaintiff

from voluntarily liquidating his accounts, which he would have done if not for the

APR reduction. Then, the Withdrawal Limit Proposal added insult to injury by wholly

prohibiting Plaintiff from having any control over his own assets, contrary to the

terms to which Plaintiff agreed when he opened his position. All of these losses and

restrictions have been imposed on Plaintiff and countless other users at the hands of

Defendants for Defendants’ own financial gain and as a direct result of their

manipulation of the system they created.

31.      In short, Plaintiff deposited 12,000,000 USDC, which with interest is now

approximately 12,718,495 USDC, but which Plaintiff cannot access or withdraw due

to Defendants’ actions. Defendants enticed victims such as Plaintiff by offering high

interest rates, but used their own coin—USDN—as collateral to borrow heavily in

order to ultimately buy up Waves to artificially drive up its price. After converting

the purchased Waves to USDN and yielding hundreds of millions in USDN,

Defendants borrowed against the USDN knowing it had no backing, much like the



15
     https://medium.com/wavesprotocol/the-waves-defi-revival-plan-c21d9bfabc7e
                                           11
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widely known recent collapse of Terra and its stablecoin, TerraUSD (ticker symbol:

UST). When its victims caught on, Defendants then changed the protocol rules to

prevent the lenders from withdrawing their capital, and dramatically reduced the

rates the lenders receive. If Defendants had not changed the rates, the lenders—

including Plaintiff—would be able to withdraw their capital, which they cannot now

do. As a result, Plaintiff has been damaged in the amount of approximately

12,718,495 USDC, or $12,718,495.

32.       Plaintiff has no adequate remedy at law.

                                    COUNT ONE
                                PRICE MANIPULATION

33.       Plaintiff repeats and realleges the foregoing allegations above as if fully set

forth here.

34.       “It [is] unlawful for any person, directly or indirectly, to use or employ, or

attempt to use or employ, in connection with any swap, or a contract of sale of any

commodity in interstate commerce, or for future delivery on or subject to the rules of

any registered entity, any manipulative or deceptive device or contrivance.” 7 U.S.C.

§ 9(1).

35.       “While the CEA itself does not define the term, a court will find manipulation

where ‘(1) Defendants possessed an ability to influence market prices; (2) an artificial

price existed; (3) Defendants caused the artificial prices; and (4) Defendants

specifically intended to cause the artificial price.” BMA LLC v. HDR Global Trading

Ltd., 2021 WL 949371, *13 (quoting In re Amaranth Nat. Gas Commodities Litig.,

730 F.3d 170, 173 (2d Cir. 2013)).

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36.    Here, Defendants possessed an ability to influence the market price of Waves’

token by buying it at high interest rates, and they did in fact do so.

37.    At the time Plaintiff opened his positions with Defendants, an artificial price

existed for that token.

38.    As noted, Defendants deliberately caused this artificial price by buying up

Waves’ token at high interest rates, and did so with the specific intention to cause the

artificial price. This intention can be seen in the Defendants’ extensive efforts to buy

up Waves’ token, which can have no innocent explanation, as well as Defendants’

subsequent efforts to seize Plaintiff’s investment.

39.    As a result of this manipulation, Plaintiff has lost hundreds of thousands of

dollars and is now in a position where Defendants threaten to misappropriate his

remaining investment of over a million dollars.

40.    Plaintiff is therefore entitled to relief in full under the Commodity Exchange

Act.

                                  COUNT TWO
                               CIVIL CONSPIRACY

41.    Plaintiff repeats and realleges the foregoing allegations above as if fully set

forth here.

42.    “A civil conspiracy is a combination of two or more persons acting in concert to

commit an unlawful act, or to commit a lawful act by unlawful means, the principal

element of which is an agreement between the parties to inflict a wrong against or

injury upon another, and an overt act that results in damages . . . [and constitutes]




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an actual abridgment of some federally-secured right.” Hernandez-Cuevas v. Taylor,

2014 WL 12626352, *2 (D.P.R. Sept. 17, 2014) (internal quotations omitted).

43.   On information and belief, Defendants have conspired to benefit only

themselves by driving up the price of their Waves’ token by buying it with USDC

borrowed at unreasonably high interest rates, which created deficiencies in Vires’

users’ “account health” and threatened to cause automatic liquidation of users’,

including Plaintiff’s, pledged collateral. The subsequent Rate Reduction Proposal and

Withdrawal Limit Proposal imposed by Defendants ostensibly in response to the

resulting liquidity shortage caused by Defendants’ acts ultimately prevented Plaintiff

from making the value growth he otherwise would have made and from being able to

access and withdraw his assets to invest elsewhere.

44.   Defendants’ conspiracy not only damages Plaintiff’s ability to make money, but

Defendants are denying Plaintiff the right of reasonable access to his property and

the right to liquidate his accounts.

45.   Plaintiff is therefore entitled to recover from Defendants’ abridgement of his

federally-secured right to use and access his property.

                            COUNT THREE
                    FRAUDULENT MISREPRESENTATION

46.   Plaintiff repeats and realleges the foregoing allegations above as if fully set

forth here.

47.   “[C]ourts will not allow directors or officers to use the corporate shield to

protect them while they use the corporation to defraud others. Where the directors or

officers use the corporation to commit fraud, courts will pierce the corporate veil and

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hold those officers or directors personally liable. Wadsworth, Inc. v. Schwarz-Nin, 951

F. Supp. 314, 322 (D.P.R. 1996) (internal quotations omitted). “A plaintiff hoping to

persuade a court to pierce the corporate veil must establish that the directors acted

with intent to defraud and that the creditor cannot collect from the corporation the

debt owed them.” Id.

48.   “To state a claim for fraud under Puerto Rico law, a plaintiff must allege ‘(1)

that a false representation was made; (2) that the plaintiff reasonably and foreseeably

relied thereon; (3) that the plaintiff was injured by his reliance; and (4) that the

defendant intended to defraud the plaintiff.’” In re Fin. Oversight & Mgmt. Bd. for

Puerto Rico F. Supp. 3d, 2021 WL 7162427, *8 (D.P.R. Dec. 27, 2021) (citing Microsoft

Corp. v. Comput. Warehouse, 83 F. Supp. 2d 256, 262 (D.P.R. 2000) and Wadsworth,

Inc. v. Schwarz-Nin, 951 F. Supp. 314, 323 (D.P. R 1996)). 16 Federal Rule of Civil

Procedure 9(b) requires a party alleging fraud or mistake to “state with particularity

the circumstances constituting fraud or mistake.” The plaintiff must “specify the who,

what, where, and when of the allegedly false or fraudulent representation.” Alt. Sys.

Concepts, Inc. v. Synopsys, Inc., 374 F.3d 23, 29 (1st Cir. 2004). “In general, in order

to prove an intent to defraud, a plaintiff must show either that the defendant

intended to receive a benefit or intended to cause actual or potential loss to the

plaintiff.” Wadsworth, Inc. v. Schwarz-Nin, 951 F. Supp. 314, 326–27 (D.P.R. 1996).




16
  The plaintiff must also “set[] forth specific facts that make it reasonable to believe
that defendant knew that a statement was materially false or misleading.” Woods v.
Wells Fargo Bank, N.A., 733 F.3d 349, 358 (1st Cir. 2013).


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49.    Defendants falsely represented that APYs from Vires would be between 30-

70%.

50.    Defendants falsely represented that Vires has no control over any transactions

over its decentralized non-custodial liquidity protocol, the method of payment of any

transactions, or any actual payments of transactions.

51.    Defendants falsely represented that the Vires Protocol is fully decentralized

and managed by a decentralized community of gVires token-holders who propose and

vote on upgrades to the Protocol.

52.    Defendants falsely represented that they did not own or control the Vires

Protocol.

53.    Defendants falsely represented that Plaintiff would have full and unrestricted

access to his virtual assets through his dealings with Defendants.

54.    Plaintiff reasonably and foreseeably relied on Defendants’ fraudulent

representations. Defendants' misrepresentations and omissions concerning their

clients’ ability to recoup loans at an 72% APY rate and withdraw assets are

material—a reasonable customer or investor would consider it important to know if

he or she would be unable to recoup loans at an advertised APY rate and withdraw

his or her assets on demand. Defendants' omissions and failure to disclose their

misappropriation is material: a reasonable customer or investor would want to know

if his or her assets were misappropriated or unduly restrained.

55.    Defendants reduced the maximum borrower APR to 40% for all assets, which

reduced Plaintiff’s lending yields by 32%. Further, Defendants set daily withdrawal



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limits on Plaintiff’s virtual assets after Plaintiff deposited his assets with Defendants.

Plaintiff’s reliance on Defendants' fraudulent representations therefore resulted in

substantial and mounting damages to Plaintiff. Plaintiff’s damages also include

Plaintiff’s inability to use and enjoy full access to its financial assets.

56.    Defendants knew the above statements were false when making them, and

intended for Plaintiff to rely on Defendants’ false statements in order to gain

substantial control over, and restrain Plaintiff’s access to his virtual assets.

57.    As a direct and proximate result of the Defendants’ fraudulent conduct,

Plaintiff has been harmed and is entitled to damages:

          a. Plaintiff is entitled to recovery of his anticipated profits from the APYs

              in place prior to Defendants’ manipulation of the Vires system.

          b. Plaintiff is entitled to recovery of additional damages as this Court

              considers    just   to   penalize   Defendants      for   their   fraudulent

              representations and mismanagement of Plaintiff’s assets.

58.    As a direct and proximate result of Defendants’ fraudulent conduct, Plaintiff

has sustained and will continue to sustain substantial and irreparable injury, for

which there is no adequate remedy at law. Unless Defendants’ fraudulent conduct is

enjoined by this Court, Defendants will continue to wrongfully restrain Plaintiff’s

assets and deny Plaintiff from recouping profits at the APY Rate Plaintiff was

reasonably expecting. Plaintiff therefore is entitled to permanent injunctive relief

restraining and enjoining Defendants’ ongoing fraudulent conduct.

59.    Defendants are jointly and severally liable.



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                               COUNT FOUR
                          FRAUDULENT INDUCEMENT

60.   Plaintiff repeats and realleges the foregoing allegations above as if fully set

forth here.

61.   A claim for fraudulent inducement requires the same elements discussed

above: “(1) a false representation by the defendant; (2) the plaintiff's reasonable and

foreseeable reliance thereon; (3) injury to the plaintiff as a result of the reliance; and

(4) an intent to defraud.” Stockdale v. Doral Fin. Corp., 2009 WL 3066638, *15 (D.P.R.

Sept. 18, 2009).

62.   By virtue of Defendants’ tortious acts stated above, Defendants are liable to

Plaintiff for Fraudulent Inducement.

                                    COUNT FIVE
                                      DOLO

63.   Plaintiff repeats and realleges the foregoing allegations above as if fully set

forth here.

64.   “Under Puerto Rico contract law, fraud that affects a contracting party is

commonly referred to as ‘dolo’ or deceit . . . dolo and fraud are not synonymous

concepts, as ‘Puerto Rico's Supreme Court has described dolo as the genus and fraud

as one of its several species alongside with deceit, false representations, undue

influence, and other insidious machinations.’” Burk v. Paulen, 100 F. Supp. 3d 126,

134 (D.P.R. 2015) (citing Generadora De Electricidad Del Caribe, Inc. v. Foster

Wheeler Corp., 92 F.Supp.2d 8, 19 (D.P.R.2000)). Like fraud, dolo “is not presumed,”

and a plaintiff alleging dolo “need not strictly adhere” to the traditional elements of



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fraud, as “dolo can be found to exist without a finding of all of the necessary facts

constituting fraud.” Id. at 135. Plaintiff must, however, “sufficiently plead that [the

defendant] acted with intentional fault or bad faith to deceive him when discussing

the formation of an agreement between the parties.” Id.

65.    By virtue of Defendants’ tortious acts stated above, Defendants are liable to

Plaintiff for Dolo.

                               COUNT SIX
                      NEGLIGENT MISREPRESENTATION

66.    Plaintiff repeats and realleges the foregoing allegations above as if fully set

forth here.

67.    To prove negligent misrepresentation, a plaintiff must prove that: “(1) the

defendant made a false representation to the plaintiff; (2) the defendant had a

pecuniary interest in making the statement; (3) the defendant owed a duty of care to

see that he communicated truthful information to the plaintiff; (4) the defendant

breached that duty by failing to exercise due care; (5) the plaintiff justifiably relied

on the representation; and (6) the plaintiff suffered a pecuniary loss as the proximate

result of his reliance upon the representation.” Adrian v. Mesirow Fin. Structured

Settlements, LLC, 736 F. Supp. 2d 404, 421 (D.P.R. 2010).

68.    By virtue of Defendants’ tortious acts stated above, Defendants are liable to

Plaintiff for Negligent Misrepresentation.




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                                  COUNT SEVEN
                                  CONVERSION

69.   Plaintiff repeats and realleges the foregoing allegations above as if fully set

forth here.

70.   “Under Puerto Rico law, conversion is not the simple acquisition of another’s

property, but the malicious and wrongful privation of the ownership rights, the illegal

exercise, or the assumption of authority over another’s property, thereby depriving

the lawful owner or possessor, permanently or for an indefinite period, of its use and

enjoyment.” United States v. GZ Constr. St, Inc., 155 F. Supp. 3d 147, 152 (D.P.R.

2015) (internal quotations omitted).

71.   Defendants’ enactment of the strictures laid out in the Withdrawal Limit

Proposal constitutes conversion, as the Defendants have maliciously and wrongfully

assumed authority over Plaintiff’s property—depriving Plaintiff of his right to

possess, use, and enjoy said property.

                                COUNT EIGHT
                             UNJUST ENRICHMENT

72.   Plaintiff repeats and realleges the foregoing allegations above as if fully set

forth here.

73.   There are five elements to an unjust enrichment cause of action. These include:

“1) existence of enrichment; 2) a correlative loss; 3) nexus between loss and

enrichment; 4) lack of cause for enrichment; and 5) absence of a legal precept

excluding application of enrichment without cause.” AIG Ins. Co.-Puerto Rico v.




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PetSmart Puerto Rico, LLC, 2021 WL 4598107, *8 (D.P.R. May 20, 2021) (internal

brackets omitted).

74.   By virtue of Defendants’ tortious acts stated above, including Defendants’

driving up the price of their Waves’ token by buying it with USDC borrowed at

unreasonably high interest rates, Defendants have been unjustly enriched.

                                COUNT NINE
                            PROMISSORY ESTOPPEL

75.   Plaintiff repeats and realleges the foregoing allegations above as if fully set

forth here.

76.   “According to the First Circuit's interpretation of Puerto Rico's adoption of the

doctrine of promissory estoppel through judicial decisions, the first essential element

of promissory estoppel is a binding offer in the form of a promise. This promise must

be definite and certain so that the promisor should reasonably foresee that it will

induce reliance by the promisee or a third party.” Int’l Paper Co. v. Farm Credit Corp.,

760 F. Supp. 18, 20 (D.P.R. 1991) (citing Santoni v. Fed. Deposit Ins. Corp., 677 F.2d

174, 179 (1st Cir. 1982).

77.   Defendants represented to Plaintiff, among other things, that Plaintiff would

obtain a beneficial yield of loaned assets around 70%, that Plaintiff would be able to

withdraw his assets at any such time and in any such amount as he desired, and that

the protocols governing Waves and Vires were democratically controlled rather than

by a small, collusive group of people. Plaintiff relied on these representations in

deciding to participate in Vires to his detriment.




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78.   By virtue of Defendants’ tortious acts stated above, Defendants are liable to

Plaintiff under the doctrine of promissory estoppel.

                                 COUNT TEN
                             EQUITABLE ESTOPPEL

79.   Plaintiff repeats and realleges the foregoing allegations above as if fully set

forth here.

80.   A plaintiff alleging equitable estoppel must establish that: “(1) the party to be

estopped made a definite misrepresentation of fact to another person having reason

to believe that the other would rely upon it; (2) the party seeking estoppel relied on

the misrepresentations to its detriment; and (3) the reliance was reasonable in that

the party claiming the estoppel did not know nor should it have known that its

adversary's conduct was misleading.” Candelario v. Metro. Life Ins. Co., 861 F. Supp.

2d 23, 28 (D.P.R. 2012) (internal brackets and quotations omitted). A plaintiff must

present evidence showing that the defendant had an ‘improper purpose’ or

‘constructive knowledge of the deceptive nature of his conduct in the form of some

definite, unequivocal behavior fairly calculated to mask the truth or to lull an

unsuspecting person into a false sense of security.’” Id. (citing Ortega Candelaria, 661

F.3d 675, 679 (1st Cir. 2011)).

81.   Defendants misrepresented to Plaintiff, among other things, that Plaintiff

would obtain a beneficial yield of loaned assets around 70%, that Plaintiff would be

able to withdraw his assets at any such time and in any such amount as he desired,

and that the protocols governing Waves and Vires were democratically controlled

rather than by a small, collusive group of people. Plaintiff reasonably relied on these

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misrepresentations in deciding to participate in Vires to his detriment. Moreover,

Plaintiff relied on Defendants’ misrepresentations and did not know, nor should he

have known, that the misrepresentations were misleading.

82.   By virtue of Defendants’ tortious acts stated above, Defendants are liable to

Plaintiff under the doctrine of equitable estoppel.

                               COUNT ELEVEN
                           INDEBITATUS ASSUMPSIT

83.   Plaintiff repeats and realleges the foregoing allegations above as if fully set

forth here.

84.   Indebitatus assumpsit is the federal common-law cause of action for money had

and received—in order for a plaintiff to sustain the action, it must “establish an

express contract or facts and circumstances from which the law will raise an

implication of a promise to pay.” Inter-Island Ferry Sys. Corp. v. Puerto Rico Ports

Auth., 2017 WL 4990556, *5 (D.P.R. Oct. 31, 2017). “More simply put, indebitatus

assumpsit is a remedy that is only available when there was an express or implied

contract between the parties under which one party fully performed and the other

has yet to pay.” Id.

85.   By virtue of Defendants’ tortious acts stated above, including but not limited

to Defendants’ representations through the Waves website, the Vires website, and

various blogs and social media announcements by Waves, Vires, and Defendant

Ivanov, Defendants are liable to Plaintiff under the doctrine of indebitatus assumpsit.




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                              Preliminary Injunction

86.   Plaintiff is separately filing an ex parte Motion for Temporary Restraining

Order following this Complaint, requesting that this Court order, among other things,

the freezing of all of Plaintiff’s assets and preventing Defendants from withdrawing

said assets in order to preserve the status quo until such time as a hearing can be

held. Without said relief, Defendants’ wrongful actions will continue unabated, and

Plaintiff will continue to suffer irreparable harm.

                                  Prayer for Relief

      WHEREFORE, Plaintiff respectfully prays that this Court declare that

Defendants’ conduct is fraudulent, unlawful, and in violation of legal statutes here

identified, and that it grant Plaintiff the following remedies:

1.    That this Court award compensatory and general damages in the amount of

$12,718,495, as well as any and all consequential damages and lost profits, against

all Defendants sued in their individual and/or representative capacities, for the

Plaintiff, or an amount to be determined according to proof during the trial, as a

remedy for the fraud, breach of contract, and unlawful withholding of money.

2.    That this Court award exemplary and punitive damages, if applicable, against

all Defendants sued in their individual and/or representative capacities, in an

amount to be determined at trial, in light of Defendants’ willful, wanton, and

malicious acts with conscious disregard to Plaintiff’s rights.

3.    That this Court award Plaintiff his full costs, expenses, and attorney’s fees.

4.    Pre-judgment interest and post-judgment interest; and



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5.    Any other relief this Court deems equitable, just and appropriate.


Dated: July 6, 2022                          Respectfully submitted,

                                             Dunlap Bennett & Ludwig PLLC

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                          CERTIFICATE OF SERVICE

      I hereby certify that on July 6, 2022, I caused a true and correct copy of the

foregoing to be filed on the Court’s CM/ECF system, which served notice on all counsel

of record.



                                              By: s/ Cortland C. Putbrese
                                              Cortland C. Putbrese




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